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                                                                      Wednesday, 25 July, 2018 02:54:46 PM
                                                                             Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                  URBANA DIVISION

CHARLES BRYANT, N61320,                      )
ALFRED JOHNSON, R23237, and                  )
BRIAN D. CURTIS, R55894,                     )
individually and on behalf of a Class of persons
                                             )
similarly situated,                          )
                                             )
         Plaintiffs,                         )
                                             )
v.                                           ) Case No. _____________________
                                             )
JOHN R. BALDWIN, Acting Director of the      )
Illinois Department of Corrections,          )
DR. STEVE MEEKS, Chief of Health Services of )
the Illinois Department of Corrections, and  )
WEXFORD HEALTH SOURCES, INC.,                )
                                             )
         Defendants.                         )

                           CLASS ACTION COMPLAINT FOR
                          DAMAGES AND INJUNCTIVE RELIEF

                                     Preliminary Statement

   1. The Illinois Department of Corrections and its medical contractor Wexford Health

       Sources, Inc., have a policy, practice, and custom of not providing needed surgeries to

       incarcerated people who suffer from painful hernias, except in emergency circumstances.

       A hernia is a condition wherein the abdominal wall weakens or tears, causing other

       internal tissues (such as intestines) to be forced through it. Hernias can be extremely

       painful and debilitating, and if left untreated, can lead to infection, bowel obstruction, and

       even death. Despite the fact that surgical repair is the only way to prevent those negative

       outcomes, Defendants have a policy of refusing to provide hernia surgeries, except in

       emergency circumstances, for the purpose of reducing costs and increasing profits. This

       policy prohibits medical staff from exercising medical judgment and has resulted in the

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   denial of surgeries to dozens, if not hundreds of hernia patients, leaving them in severe

   pain, unable to participate in normal activities, and at risk for serious complications. This

   policy and practice causes the wanton infliction of pain and amounts to deliberate

   indifference to the serious medical needs of those incarcerated in the IDOC system, in

   violation of the Eighth Amendment to the United States Constitution.

           This complaint was drafted in similar form to a similar class action filed

   September 16, 2015 in federal court in the Northern District of Florida, Tallahassee

   Division, by inmates held in Florida Department of Corrections facilities alleging

   substantially similar complaints. (Case 4:15-cv-00452-RH-CAS)

                                 Jurisdiction and Venue

2. This Court has jurisdiction over Plaintiffs’ claims under 28 U.S.C. § 1331 and 1343

   because the claims raise Federal Questions as to the deprivation of each Plaintiff’s rights

   under 42 U.S.C. § 1983 and under the Eight Amendment to the Constitution.

3. Plaintiffs’ claims for relief are predicated, in part, upon 42 U.S.C. § 1983, which

   authorizes actions to redress the deprivation, under color of state law, of rights,

   privileges, and immunities secured by the Constitution and laws of the United States, and

   upon 42 U.S.C. § 1988, which authorizes the award of attorneys’ fees and costs to

   prevailing plaintiffs in actions brought pursuant to 42 U.S.C. § 1983.

4. Venue is proper in this district pursuant to 28 U.S.C. §1391(b), (c), and (d) as Defendants

   do business in this judicial district and division, and many of the events or omissions

   giving rise to the claims occurred in this judicial district and division.




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5. Plaintiffs seek a preliminary and permanent injunction pursuant to Rule 65, Federal Rules

   of Civil Procedure.

                                           Parties

6. Plaintiff Charles Bryant is incarcerated in the IDOC system at the Danville Correctional

   Center and was at all relevant times. He suffers from a serious medical need, a painful

   hernia, and his medical condition warrants surgical repair of his hernia, yet he has not

   been allowed to undergo surgery for his hernia.

7. Plaintiff Alfred Johnson is incarcerated in the IDOC system at Pontiac Correctional

   Center and was at all relevant times. He suffers from a serious medical need, a painful

   hernia, and his medical condition warrants surgical repair of his hernia, yet he has not

   been allowed to undergo surgery for his hernia.

8. Plaintiff Brian D. Curtis is incarcerated in the IDOC system at Menard Correctional

   Center and was at all relevant times. He suffers from a serious medical need, a painful

   hernia, and his medical condition warrants surgical repair of his hernia, yet he has not

   been allowed to undergo surgery for his hernia.

9. Defendant John R. Baldwin is the Acting Director of the Illinois Department of

   Corrections (IDOC). As such, he is responsible for the overall operation of the IDOC,

   including the operation of prison facilities. Defendant Baldwin has a non-delegable duty

   to provide constitutionally adequate medical care to all persons in his custody. He is sued

   in his official capacity for injunctive and declaratory relief.

10. Dr. Steve Meeks is the Chief of Health Services for the Illinois Department of

   Corrections. As such, he is responsible for the delivery of healthcare services to inmates

   at IDOC prison facilities. Defendant Meeks has a non-delegable duty to provide



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   constitutionally adequate medical care to all persons in his custody. He is sued in his

   official capacity for injunctive and declaratory relief.

11. Defendant Wexford Health Sources, Inc. (Wexford) is an out-of-state Florida for-profit

   corporation, registered and doing business in Illinois. Since approximately 2011 Wexford

   has contracted with the IDOC to provide medical care services to inmates confined in the

   majority of IDOC prisons. Wexford has a custom, policy and practice in place and

   enforces the corporate policy and custom regarding hernias described herein. Upon

   information and belief, all medical professionals (including doctors, nurse practitioners,

   physician assistants and nurses) at the relevant institutions are employed by, or contracted

   with Wexford, and act within the scope of their employment. Defendant Wexford is sued

   for injunctive and declaratory relief, and damages.

12. Defendant Wexford and its employed physicians conduct a process known as Collegial

   Review, a form of utilization management, whereby the medical needs of individual

   inmates are discussed, and requests for referral for specialty care for those inmates is

   either denied or approved.

13. The actions of the Defendants and their agents were performed under color of state law

   and constitute state action.

                       GENERAL FACTUAL ALLEGATIONS

                                          Hernias

14. An abdominal wall hernia occurs when an organ or other tissue is forced through a weak

   spot in the abdominal wall. An inguinal hernia occurs when contents of the abdomen—

   including intestines and fat—bulge through a tear or weakness in the groin area (where




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   the lower abdomen meets the inner thigh). The tissue may recede back into the abdomen

   and then bulge out again, depending on the patient’s position and activity.

15. Inguinal hernias are a type of abdominal wall hernia and the most common type of

   hernia. In men, inguinal hernias can cause internal tissue to be forced into the scrotum,

   pressing on the testicles and causing severe pain.

16. There are other types of abdominal wall hernias, including but not limited to umbilical

   hernia, incisional (ventral) hernias, femoral hernias, epigastric hernias, and Spigelian

   hernias and usually all of these hernias involve weak areas in the abdominal wall which

   allows abdominal contents to slip through the wall.

17. Groin hernias (i.e., inguinal and femoral hernias) are very common—the prevalence of

   groin hernias has been estimated to be between 5 and 10 percent in the United States,

   with inguinal hernias accounting for the vast majority. The estimated lifetime risk of

   developing a groin hernia is about 25 percent in men. Femoral hernias are much less

   common than inguinal hernias and they are more common in women.

18. Abdominal hernias often cause severe pain, which typically worsens with activity or

   exertion. Routine and necessary activities such as walking, running, lifting, coughing,

   urinating, defecating, and even sitting up can cause the tissue to bulge out of the

   abdominal wall, causing intense and excruciating pain. Hernias can be so painful that

   they prevent people from engaging in any activities, forcing patients to be bedridden.

   Other symptoms of inguinal hernias include weakness, feelings of heaviness, burning,

   tearing, or aching in the groin; or a swollen or enlarged scrotum. If left untreated, a hernia

   can lead to serious complications, including the intestines becoming trapped in the




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   scrotum or the abdominal wall, which can lead to bowel obstructions, tissue necrosis,

   sepsis, the excision of intestines, and even death.

19. There is no connection between the size of the hernia and the amount of pain it produces.

   That is, smaller hernias can be just as painful, or more so, than larger hernias.

20. An abdominal wall hernia wherein the bulging tissue can be pushed back into place is a

   reducible hernia. Many times, however, the bulging tissue will become trapped and

   cannot be pushed back into place—this is a non-reducible or incarcerated hernia.

   Reducible hernias can be just as painful (or more so) than non-reducible hernias. Many

   hernias are reducible at times and nonreducible at others. A reducible hernia can become

   permanently non-reducible and incarcerated at any time.

21. A prisoner with an abdominal wall hernia who is expected to walk and stand in straight

   lines on the prison compound cannot simply lie down on the ground to push his intestines

   back into place whenever the hernia bulges out of his abdominal wall.

22. If an incarcerated hernia is untreated, it can become strangulated, meaning the blood

   supply to the bulging tissue is cut off, causing the tissue to die. This is an emergency

   situation requiring immediate surgery. Failure to treat a strangulated hernia can lead to

   severe infection, intestinal obstruction, the excision of intestines, and death.

23. A hernia is typically diagnosed with a physical exam and patient history. Imaging tests

   (such as an X-ray, CT scan, or ultrasound) may be helpful, but these scans may not detect

   an abnormality, especially if the bulging tissue is receded into the abdomen during the

   scan. Thus, a negative scan does not mean that a hernia is not present.

24. The only definitive treatment for an abdominal wall hernia is surgical repair. Without

   surgery, the tear or weakness in the abdominal wall will never heal, and the patient will



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   continuously suffer from intense pain, discomfort, and limited activity; as well as the risk

   of infection, intestinal obstruction, and death. The risk of developing complications

   increases as more time elapses without treatment.

25. Thus, the proper treatment for a hernia begins with referral to a surgeon for a surgical

   consultation. The generally accepted medical practice for a patient with a hernia is to

   perform surgery if the patient is symptomatic; that is, experiencing pain, an inability to

   walk, an inability to work or engage in other normal life activities, or other symptoms.

26. A “hernia belt,” truss, jock strap, or other binding options are not treatment for hernias.

   They are often unhelpful, do nothing to treat the condition, and can actually be harmful.

27. The medical standard of care for a patient with a symptomatic hernia is surgical repair as

   soon as possible after detection and determination that the hernia is adversely affecting

   the patient’s activities of daily living. The medical standard of care requires the medical

   decision-maker to consider and take into account whether the patient is experiencing pain

   from the hernia, when determining if the patient is a candidate for surgery. Basing the

   decision to perform surgery solely on whether the hernia is reducible, irrespective of

   other symptoms, falls far below accepted medical practice and the standard of care.

28. Surgery to repair abdominal wall hernia is one of the most common surgeries performed

   in the United States. It is a relatively simple procedure. Some statistics suggest that more

   than 1 million abdominal wall hernia repairs are performed each year in the United

   States, with inguinal hernia repairs constituting nearly 770,000 of these cases.

29. The classification of a surgery as “elective” has no bearing on whether the condition it

   will alleviate is a serious medical need. Any procedure that it not an emergency can be




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classified as elective; this does not mean that failure to perform it will not result in severe

pain and other serious complications.

       The medical literature supports the view that the mean mortality rate associated

with elective surgical hernia repair is approximately 0.2%, whereas the mean mortality

rate for emergency surgical hernia repair is approximately 4%. Stated another way, the

mean mortality rate for emergency surgical hernia repair is twenty (20) times higher than

elective hernia surgery repair. Stated yet a third way, the mean mortality rate for

emergency surgical hernia repair has been estimated to be about two thousand percent

(2000%) higher as compared to elective surgical hernia repair. Operation Compared

with Watchful Waiting in Elderly Male Inguinal Hernia Patients: A Review and

Data Analysis, INCA Trialists Collaboration, J Am Coll Surg, Vol. 212, No. 2,

February 2011

       The medical literature supports the view that when a patient incurs an incarcerated

abdominal wall hernia, the morbidity and mortality for those patients remains high. As

compared with elective repairs, patients with incarcerated abdominal wall hernias have

higher morbidity and mortality rates. A study concluded with the finding that patients

with incarcerated abdominal wall hernias require emergency surgery and have high

mortality and morbidity rates. Factors Affecting Morbidity and Mortality in Patients

Who Underwent Emergency Operation for Incarcerated Abdominal Wall Hernia,

Int. Surg 2012; 97:305-309




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         IDOC and Wexford’s Unlawful Policy of Denying Hernia Surgeries

30. People incarcerated within the IDOC system are completely dependent upon Defendants

   to provide them with medical care. Prisoners are not free to seek their own care, even if

   they can pay for it.

31. In general, the delivery of medical care within the IDOC is supposed to work in the

   following manner. If a prisoner has a medical issue, the inmate can access sick call,

   where the inmate usually sees a nurse. The nurse can refer the inmate for an appointment

   with the institution nurse practitioner, physician assistant, or physician, as the case may

   be. If the medical provider believes a consult with an outside specialist (off-site from the

   prison facility) is needed, a consultation request may occur through a process known as

   “Collegial Review”. That request is forwarded to Wexford’s out-of-state office. During

   the collegial review process, several options may occur. For example, the request for

   specialty referral may be denied, approved, or additional information may be requested.

   If the request is approved, the inmate is usually eventually sent to the specialist. Then the

   process repeats itself: If the specialist feels a certain procedure is needed, the specialist

   submits a consult report to Wexford, advising it that a specific treatment is warranted.

   That recommendation must again be put through the collegial review process where it

   may be approved or denied. If approved, the procedure is scheduled at some point in the

   future. Often, surgical recommendations are denied in favor of conservative, non-

   surgical options.

32. Collegial Review is in effect the “gatekeeper” and makes the final determination whether

   medical care will be provided. Collegial Review decision are often made by someone

   who is not a specialist in the area at issue, and almost always without ever evaluating the


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   patient personally. The Collegial Review decision is most often made by an out-of-state

   individual, who is unlicensed to practice medicine in the state of Illinois. The Collegial

   Review physician is not subject to the Illinois Medical Licensing Board, per se, as that

   individual is usually not licensed in Illinois. On information and belief, the out-of-state

   Collegial Review physicians are employed by Wexford in violation of Illinois’

   prohibition against the corporate practice of medicine. (See Illinois Supreme Court

   decision, Berlin v. Sarah Bush Lincoln Health Center, 179 Ill. 2d 1, 688 N.E.2d 106

   (1997))

33. Rather than making decisions based on medical judgment, however, Defendants make

   health care decisions based on costs, in a way that prevents medical professionals from

   exercising medical judgment in deciding what treatment to provide and when it should be

   provided. That decision-making is illustrated by Defendants’ approach to patients with

   hernias. Specifically, Defendants have a policy, practice, and custom of not providing

   hernia surgeries to prisoners except in emergency circumstances. One facet of this de

   facto policy is that Defendants generally do not provide surgery if the hernia has been

   reducible at any time, no matter what symptoms (including pain), the patient is

   experiencing. The “emergency circumstances” exception is narrow and allows surgery

   only in life-threatening situations, with no regard for the pain or debilitation that the

   patient is experiencing. The de facto policy does not take into account the fact that

   hernias often adversely affect a patient’s activities of daily living.

34. Thus, when an inmate presents with a painful hernia, one of several things happen: The

   institution physician refuses to submit a consult request for the patient to see a general

   surgeon for surgical evaluation. Or, the institution physician submits the request, which is



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       then denied in Collegial Review. Or, the consult request is granted, but after the surgeon

       recommends surgery, the surgery is denied again or significantly delayed in Collegial

       Review. All of these actions are taken pursuant to Defendants’ policy and the de facto

       execution of the policy.

   35. To make matters worse, when an inmate is seen at sick call, the inmate may be charged a

       monetary copayment, regardless of whether treatment is eventually provided.

   36. Defendants have enforced this policy, practice, and custom despite knowing that failing

       to provide these surgeries will lead to prisoners being left in excruciating pain, limited in

       their activities, and at risk for serious complications or death. Defendants have acted with

       deliberate indifference to the serious medical needs of people incarcerated in the IDOC

       system.

                             Allegations Regarding Named Plaintiffs

Plaintiff Charles Bryant

   37. Charles Bryant is an inmate at IDOC facility, Danville Correctional Center, N61320,

       birthdate 9/8/60 To the best of his knowledge and belief, he developed an abdominal wall

       hernia in 2010 while housed in Lawrence Correctional Center. Mr. Bryant was informed

       by the staff that the IDOC and Wexford Health Sources (Wexford) do not perform

       elective hernia surgery operations and informed him he would need to wait until he was

       released from prison to get the hernia “fixed”. Since 2010, Mr. Bryant’s hernia has been

       painful, and it has affected his ability to carry out his activities of daily living. Mr. Bryant

       has now been informed he has cancer on his right kidney. Mr. Bryant has filed grievances

       in the past seeking treatment for his hernia, without success.




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Plaintiff Alfred Johnson

   38. Alfred Johnson is an inmate at IDOC facility, Pontiac Correctional Center, R23237,

       birthdate 7/13/84. Mr. Johnson has had an abdominal wall hernia for many years while

       housed within the IDOC system. He has requested to have his hernia surgically evaluated

       on multiple occasions. At times, Mr. Johnson’s hernia is described as the size of a

       cantaloupe. He has filed complaints through the grievance process related to his hernia, to

       no avail. He has been informed by staff that the IDOC and Wexford do not perform

       elective hernia surgery operations until the hernia causes serious problems. He has

       recently filed two emergency grievances wherein he reiterated the shockingly large size

       of his hernia and rated his pain as a 12 on a standard 1 to 10 pain scale. Nevertheless, as

       of this filing, both emergency grievances have been ignored entirely, the inmate receiving

       no response and no additional medical care.

Plaintiff Brian D. Curtis

   39. Brian D. Curtis is an inmate at IDOC Menard Correctional Center, R55894, birthdate

       8/11/69. Mr. Curtis developed an abdominal hernia in his upper abdomen above his

       umbilicus about ten years ago. The hernia became progressively more painful and larger

       in size. It was described as the size of a softball. He begged and pleaded to be allowed to

       have hernia surgery. Towards late 2017, Mr. Curtis threatened litigation if he was not

       allowed to be evaluated by a surgeon. Eventually he was granted his demands for surgical

       evaluation and a surgeon informed Wexford that surgery “had to be performed to avoid a

       catastrophe”. Wexford recanted and allowed him to undergo surgery. The patient

       suffered pain for about ten years. He was informed by the surgeon that due to the size of




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   his hernia the hole in his abdomen was the size of a baseball requiring mesh to fill the

   hole.

                Other Examples of Defendants’ Deliberate Indifference

40. Defendants’ Deliberate indifference is not limited to the named Plaintiffs. Defendants’

   have refused to allow many inmates suffering form symptomatic hernias to be seen by a

   surgeon for a surgical consult, despite the clear need to do so. Many of them have been

   recommended for consultations by institutional physicians, which have then been denied

   by Collegial Review. Others receive no Collegial Review at all. Some examples follow.

41. Earvin C. Allen, Jr. is an inmate at IDOC facility, Western Illinois Correctional Center,

   R44758, birthdate 12/9/86. Mr. Allen developed a hernia which was diagnosed while he

   was incarcerated within the IDOC prison system. He attempted to obtain surgical

   evaluation and treatment for the hernia on multiple occasions. He has filed grievances

   related to his condition. He was informed by the staff that the IDOC and Wexford do not

   perform elective hernia surgery operations until the hernia causes serious problems. He

   suffered from recurrent pain from the hernia and difficulty with his activities of daily

   living. He subsequently continued to complain, and hernia surgery was performed on his

   hernia after a significant delay at Passavant Area Hospital in Jacksonville, Illinois. The

   patient developed complications related to scar tissue that had formed at the hernia site.

   On or around February 10, 2017 an ultrasound was performed on the patient’s right

   testicle showing lack of blood flow to the right testicle. Emergent surgery was performed

   to surgically remove his right testicle at St. John’s Hospital in Springfield, Illinois.

42. Kevin Cobbs is an inmate at IDOC facility, Dixon Correctional Center, R12292,

   birthdate 8/29/73. Mr. Cobbs developed an abdominal wall hernia sometime in 2016, and



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   since that time it has gotten progressively more painful and progressively larger in size.

   Due to the size of the hernia, the patient complains it is progressively affecting his penis

   with pain. Mr. Cobbs has repeatedly complained to the healthcare providers and staff at

   Dixon, without any success. He desires to have the hernia repaired to relieve him from

   his pain. He has been informed the IDOC and Wexford do not perform “cosmetic

   surgery” on hernias.

43. Angel R. Dieppo is an inmate at IDOC facility Dixon Correctional Center, N41468,

   birthdate 01/20/63. Mr. Dieppo has had an abdominal hernia for many years. He has been

   informed by IDOC and Wexford staff they do not perform elective hernia surgery

   operations. The patient has abdominal pain from the hernia. He is unable to stand up for

   long periods due to the excruciating pain. He has pain when he bends over. He is unable

   to lift heavy objects because it aggravates his hernia and causes him pain. His activities of

   daily living have been adversely affected. He has previously been at Danville

   Correctional Center, Henry Hill Correctional Center and now is at Dixon Correctional

   Center. He has been unable to get his hernia surgically repaired at any of the IDOC

   facilities.

44. Scott F. English is at IDOC facility, Dixon Correctional Center, B75930, birthdate

   12/13/69. Mr. English suffered from an abdominal hernia for approximately six years.

   The hernia was medically neglected by Wexford and the staff for that same time period.

   Mr. English complained repeatedly about his hernia to the medical staff. He was

   repeatedly told by Wexford staff that he did not “fit the criteria” to have hernia surgery

   and he was informed Wexford does not routinely approve hernia surgery. Eventually the

   hernia progressed to involve his right scrotum. It grew to the size of a grapefruit. In



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   March 2018, after Mr. English had complained for about six years regarding his hernia,

   he was allowed to have surgery to repair the hernia. The treating surgeon is alleged to

   have described the hernia as a “neglected large right inguinal hernia with large direct and

   indirect components. The surgeon indicated that due to the size of his neglected hernia,

   he was at risk for hernia recurrence.

45. Drumaine McKinley is at IDOC facility, Menard Correctional Center, K66354,

   birthdate 03/07/79. Mr. McKinley had an abdominal hernia about which he complained

   and requested that it be surgically repaired. There was a delay in performing the surgery

   and as a result of the delay the patient has now experienced complications from the

   hernia and its repair. The patient complains that the time period between the hernia

   diagnosis and its repair caused or contributed to the problems he is now suffering related

   to his delayed hernia surgery. He has had two repairs already due to the delays he

   incurred.

46. Ray T. Overton is at IDOC facility, Mount Sterling Correctional facility, B24102,

   birthdate 06/05/70. Mr. Overton suffered from an abdominal hernia for seventeen years.

   He told the staff that he was in pain from his hernia. He was repeatedly informed that

   Wexford does not repair hernias unless an emergency develops. Over the time period, he

   was in Joliet Correctional Center, Menard Correctional Center, and Mount Sterling

   Correctional Center. Staff at each facility repeatedly informed him that Wexford and

   IDOC do not approve hernia surgery unless there is an emergency. After developing

   worsening problems, a surgeon performed hernia surgery upon him on 09/28/17. The

   operating surgeon informed Mr. Overton that he had never seen a hernia like this one, it




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   had dropped into his scrotum and it was very huge. Post-operatively, he continues to

   experience pain from the site due to the delay in performing the surgery on a timely basis.

47. Shannon C. Reynolds is at IDOC facility, Taylorville Correctional facility, B82375,

   birthdate 11/28/73. Mr. Reynolds has been suffering from a left inguinal hernia for many

   years, back to about 2011. It has now dropped into his left scrotum. He has submitted

   grievances on multiple occasions, exhausting his administrative appeals and/or otherwise

   had his grievances ignored. He filed an emergency grievance on 9-20-16, yet this

   grievance was not even responded to as required under the policies. He has received three

   referrals by prison physician Dr. Nawoor (on 7/20/16, 8/17/16 and 9/21/16) for surgical

   evaluation that have all been denied by Wexford’s Collegial Review panel in Pittsburg.

   The patient complains he has a painful hernia that has not been treated. He experiences

   pain with walking and it routinely swells up. It adversely affects his activities of daily

   living. Health Care administrator Lisa Mincy, RN, BSN sent him a letter 9-29-16,

   indicating “hernia repairs are an elective surgery unless the hernia becomes incarcerated

   then it is an emergency surgery……the physician has evaluated your condition and the

   hernia is not an emergency procedure that needs performed”. Dr. Nawoor has informed

   the patient he knows the hernia belt is “ineffective”, but Wexford will not approve

   surgical consultation.

48. Tyrone Rhodes is at IDOC facility, Dixon Correctional Center, K64099, birthdate

   07/25/72. Mr. Rhodes has a painful hernia which has dropped into his left scrotum. He

   has been attempting to have a surgical consultation since at least 2015, or so. His hernia

   is constantly painful, and he has informed the Wexford healthcare providers but they

   have refused to approve him for independent surgical consultation.



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49. Michael Thompson is at IDOC facility, Dixon Correctional Center, K59931, birthdate

   04/24/61. Mr. Thompson had medical complaints between 2014 and 2017, including

   complaints of hernia pain. Wexford and IDOC refused and delayed in timely treating his

   hernia and other medical problems, including straining to urinate. His hernia caused him

   pain and difficulties from his activities of daily living. He was diagnosed with a hernia in

   December 2014 and diagnosed with prostate cancer in September 2015. He continued to

   complain of problems from his hernia. After a lengthy delay, he eventually underwent

   hernia surgery and prostate cancer surgery on 12/08/17.

50. Additionally, there are pending in this District a number of individual suits by inmates

   alleging deliberate indifference related to delays or refusal to refer the inmate plaintiffs

   for independent surgical consultation, including, but not limited to:

       a. Lizell Bryant v. Baldwin, et al, 16-cv-01162

       b. Miles Barnes v. Sood, et al, 15-cv-04058

       c. Toywell Mitchell v. Sood, et al, 16-cv-04012

51. On information and belief, there are also a significant number of similar individual cases

   pending in the Northern District and Southern District of Illinois as well, each making the

   same basic allegations; that Defendants were deliberately indifferent to an inmate’s

   serious medical need by reason of Wexford’s policy of refusing to approve a surgical

   referral for an inmate’s symptomatic but not yet life-threatening abdominal wall hernia.

52. In Heard v. Sheahan, 148 F. App'x 539, 540 (7th Cir. 2005), the Seventh Circuit has

   already determined that the plaintiff’s symptomatic but not yet life-threatening inguinal

   hernia constituted a serious medical condition. This hurdle to bringing a deliberate

   indifference case now cleared, the District Courts of this state have been and will



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   continue to be flooded with individual cases alleging deliberately indifferent to an

   inmate’s serious medical need by reason of Wexford’s policy of refusing to approve a

   surgical referral for an inmate’s symptomatic but not yet life-threatening abdominal wall

   hernia.

               Wexford’s History of Providing Inadequate Medical Care

53. The IDOC has contracted with Wexford to provide virtually all medical healthcare in the

   majority of, if not all, of the IDOC’s prison facilities.

54. Wexford has a long history of providing inadequate care. In addition to the numerous

   pending individual suits against it, in 2014 the District Court in Lippert v. Godinez, No.

   1:10-cv-04603 (N.D. Ill. Dec. 2014) commissioned a neutral expert report prepared to

   “assist the court in determining whether the Illinois Department of Corrections (“IDOC”)

   is providing health care service to the offenders in its custody that meet the minimum

   constitutional standards of adequacy.’” Final Report of the Court Appointed Expert, Ron

   Shansky, MD et al., at 3, Lippert v. Godinez, No. 1:10-cv-04603 (N.D. Ill. Dec. 2014).

   Unsurprisingly, the neutral expert determined that it was not. Citing numerous examples

   throughout the 400+ page “Lippert Report”, the court-appointed expert determined that

   Wexford “has been unable to meet minimal constitutional standards with regards to the

   adequacy of its health care program for the population it serves.” Id. at 45.

55. Under the contract, Wexford is paid a contractual rate by the State of Illinois to provide

   healthcare services to inmates within the IDOC facilities. Wexford has a contract which

   requires the State of Illinois to pay Wexford in excess of One Billion Dollars over ten

   years to provide medical care to inmates. Wexford is contractually required to pay for

   medically necessary healthcare services to inmates. The majority of all costs of



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   providing health care to inmates are intended to be borne by Wexford. Notwithstanding

   its contractual obligations, when an inmate is caused to suffer an emergency situation

   such as a strangulated hernia and then goes to the hospital for emergency surgery, the

   State of Illinois is contractually obligated to pay for that emergency surgery. In contrast,

   if the hernia surgery is performed electively at an outpatient surgery center prior to the

   condition becoming a life-threatening emergency, then Wexford is obligated to pay for

   the elective surgery. As such, under Defendants’ current custom, policy and practice, the

   people of the State of Illinois are forced to pay twice for medical care provided to inmates

   housed within IDOC facilities. Firstly, the people of Illinois pay Wexford the +$1

   Billion to provide medical services to inmates. Secondly, when Defendants refuse to

   provide necessary hernia surgery and when the inmate suffers an emergency incarcerated

   or strangulated hernia, then the people of Illinois pay a second time because bills for

   emergency hospital services are paid for by the state of Illinois, rather than Wexford,

   under the contract terms.

56. Wexford has a financial incentive to avoid providing medical care and treatment until it

   becomes an emergency, especially when that care involves sending prisoners to outside

   specialists, because when the inmate requires emergency care at a hospital, the State of

   Illinois pays the bill.

57. Similarly, Wexford has a financial incentive to avoid providing medical care and

   treatment by delaying surgical referral and/or authorization for recommended surgery

   until after an inmate is paroled into the community. Once an inmate is released from

   prison, Wexford’s contractual obligation for care ends and any further care needs are

   generally borne by the State of Illinois through the Medicaid program or similar



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       state/federally reimbursed coverage. Thus, there Wexford can simply wait out an

       inmate’s parole date, it can against shift the cost of care onto the people of the State of

       Illinois.

    58. Pursuant to the Hospital Report Card Act, 210 ILCS 86, the Illinois Department of Public

       Health (IDPH) collects data publishes an on-line Illinois Hospital Report Card and

       Consumer Guide to Health Care. (http://www.healthcarereportcard.illinois.gov/)

       Statewide, for the one-year time period 10/1/16 through 9/30/17, hospitals and

       freestanding facilities across the state reported performing 16,844 surgical inguinal hernia

       repairs with median charges for inguinal hernia surgery at all facilities reported at

       $18,966.76. The IDPH figures can be used to illustrate: Assuming a frequency

       percentage of 10% and assuming a total Illinois prison population of 40,992 1, there could

       be 4,099 inmates within the IDOC prison system with abdominal wall hernias.

       Hypothetically, if even only one-third (1,366 inmates) of the 4,099 inmates who are

       assumed to have hernias underwent surgical repair, and assuming median facility fee

       charges of $18,966, then the facility fee charges for these patients would total nearly $26

       Million dollars.

               As clarified in the IDPH Report Card site, the reported median charges are the

       gross charges or standard prices established by facilities each year and all patients are

       charged the same list prices before applying any discounts. The median refers to the

       midpoint of all charges. Charges are for facility services and likely will not include




1
  Current IDOC total population as of February 28, 2018, according to April 2018 Quarterly
Report of the Illinois Department of Corrections (most recent publicly available data) found at:
https://www2.illinois.gov/idoc/reportsandstatistics/Documents/IDOC_Quarterly%20Report_Apri
l_%202018.pdf
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   surgeon fees. By refusing to perform elective hernia surgeries on inmates, Wexford is

   able to improperly shift payment responsibility back to the people of the state of Illinois,

   who then pay the bill when emergency surgery is performed on an inmate at an area

   hospital.

                                         Exhaustion

59. The Plaintiffs have exhausted their administrative remedies.

60. While it is anticipated that not all potential class members will have exhausted their

   administrative remedies related to their individual circumstances, Plaintiffs assert that

   given the existing Wexford policy and pervasive practice of denying surgical referral for

   not-life-threatening symptomatic hernias, each potential class member should be deemed

   to have constructively exhausted his/her administrative appeal obligations. Further,

   requiring every potential class member to exhaust his/her administrative remedies would

   be contrary to public policy and constitutionally dubious.

                                 Class Action Allegations

61. Pursuant to Federal Rule of Civil Procedure 23(b)(2), Plaintiffs seek to certify a class of

   all current and future prisoners in IDOC custody who have presented, or will present,

   with a symptomatic hernia to prison medical staff. This class seeks only declaratory and

   injunctive relief.

62. Pursuant to Rule 23(b)(3), Plaintiffs seek to certify a class of all past and current

   prisoners in IDOC custody (through the date of a settlement or judgment) who have

   presented with a symptomatic hernia to prison medical staff. This class seeks damages, as

   well as declaratory and injunctive relief.

63. For both the 23(b)(2) and 23(b)(3) class, Plaintiffs seek to further certify two subclasses:



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           a. The Pre-Surgical Sub-Class: This sub-class consists of all class members who

           have a symptomatic abdominal wall hernia but who have been denied or

           unreasonably delayed in receiving a referral for a surgical consult and/or

           receiving recommended corrective surgery.

           b. The Post-Surgical Sub-Class: This sub-class consists of all class members

           who previously suffered a symptomatic abdominal wall hernia and who suffered

           an unreasonable delay in obtaining corrective surgery, resulting in prolonged pain,

           suffering, limitation of daily activities, a worsening of their condition, the need

           for more extensive surgery, and/or other adverse effects causally related to the

           delay.

64. Upon information and belief, Defendants have the ability to identify all such

   similarly situated class members, through medical and other records in Defendants’

   possession.

65. The requirements of Rule 23(a) are satisfied:

           a. Numerosity. The class is so numerous that joinder of all members is

           impracticable. Given that there are roughly 40,992 prisoners in IDOC custody and

           considering the prevalence of hernias in the United States has been estimated at 5-

           10%, there could be 4,000 or more class members just in the Pre-Surgical Sub-

           class. While not every inmate with an abdominal wall hernia necessarily is a

           candidate for immediate surgical repair, a significant number of the class warrant

           surgical consultation and consideration for surgery by an experienced surgeon. It

           is unknown just how many members are in the Post -Surgical Sub-Class but may

           amount to many thousands over the term of Wexford’s contract with IDOC.



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     Medical and other records currently in Defendants’ possession can be used to

     identify the as yet unknown class members.

     b. Commonality. There are questions of law or fact common to the class,

     including but not limited to whether Defendants’ policy of not providing hernia

     surgeries except in emergency situations, for the purpose of decreasing costs and

     increasing profits, constitutes deliberate indifference to the serious medical needs

     of the class members in violation of the Eighth Amendment.

     c. Typicality. The claims or defenses of the class representatives are typical of the

     claims or defenses of the class. The class representatives either presently have

     painful hernias that have gone untreated by Defendants and have suffered (and

     continue to suffer) from the same pain, debilitation, and other substantial risks of

     serious harm that the class members have suffered or have previously suffered a

     hernia what was not timely treated, resulting in substantial additional damages.

     d. Adequacy. The class representatives and class counsel will fairly and

     adequately protect the interests of the class. The class representatives are

     committed to obtaining declaratory and injunctive relief, which will benefit

     themselves as well as the class by ending Defendants’ unconstitutional policy.

     The class representatives are also committed to fairly administering any damages

     award or settlement. Their interests are consistent with and not antagonistic to the

     interests of the class. They have a strong personal interest in the outcome of this

     action and have no conflicts with members of the class. They are represented by

     experienced counsel who specialize in civil rights and complicated litigation on

     behalf of prisoners.



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66. The requirements of Rule 23(b)(2) are satisfied, as the party opposing the class has acted

   or refused to act on grounds that apply generally to the class, so that final injunctive relief

   or corresponding declaratory relief is appropriate respecting the class as a whole.

   Defendants have applied the same policy—refusing to provide hernia surgery except in

   emergency situations—to virtually all class members as a whole. Injunctive relief will

   therefore end the policy for all class members, allowing them to receive proper medical

   evaluation and treatment. Because a past medical history of an abdominal wall hernia

   makes a patient far more likely to suffer subsequent additional hernia(s), even those

   members of the Post-Surgical Sub-Class will greatly benefit from injunctive relief that

   ends the current “delay-and-deny” policy.

67. The requirements of Rule 23(b)(3) are satisfied, as questions of law or fact common to

   class members predominate over any questions affecting only individual members, and a

   class action is superior to other available methods for fairly and efficiently adjudicating

   the controversy. The interests of members of the Plaintiff Class in individually

   controlling the prosecution of a separate action is low in that most members of the

   Plaintiff Class would be unable individually to prosecute any action at all. Most members

   of the Plaintiff Class will not be able to find competent counsel to represent them. It is

   therefore desirable to concentrate all litigation in one forum. The alternative would be

   individual cases for each and every prisoner seeking similar relief. There have been

   numerous individual cases already filed by inmates alleging substantially the same types

   of complaints, some of which have been litigated to the 7th Circuit Court of Appeals.

   Accordingly, it will promote judicial efficiency to resolve the common questions of law

   and fact in one forum, in one lawsuit, rather than in multiple lawsuits in multiple courts.



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                                CAUSE OF ACTION
                                  42 U.S.C. § 1983
                 All Defendants’ Violations of the Eighth Amendment

68. All Defendants, including Defendants’ policymakers for medical care, know about and

   enforce the policies described herein and have turned a blind eye to the serious medical

   needs of the inmates. All Defendants, including Defendants’ policymakers for medical

   care, know of Plaintiffs’ serious medical needs (including their severe pain, debilitation,

   and increased risk of serious complications), yet Defendants have intentionally failed to

   provide and have intentionally delayed treatment that will address those serious medical

   needs, knowing that their actions have resulted, and will continue to result, in Plaintiffs’

   continued suffering. Thus, Defendants have caused the wanton infliction of pain upon

   IDOC prisoners and have exhibited deliberate indifference to the serious medical needs

   of Plaintiffs and the Plaintiff Class, in violation of the Eighth Amendment.

69. By denying Plaintiffs their medically needed hernia surgeries, Defendants have imposed

   punishment far in excess of that authorized by law, and contrary to the Eighth

   Amendment.

70. Defendants’ denial of Plaintiffs’ medically needed hernia surgeries violates all standards

   of decency, and is contrary to the Eighth Amendment.

71. All Defendants’ actions and “treatment” with respect to Plaintiffs’ hernias is medical care

   so cursory as to amount to no medical care at all.

72. Plaintiffs who have not received surgery have no adequate remedy at law.




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                                   PRAYER FOR RELIEF

WHEREFORE, Plaintiffs demand the following relief:

      A. An order certifying this case as a class action, with the class defined under Rule

      23(b)(2) (seeking only declaratory and injunctive relief) as all current and future

      prisoners in IDOC custody who have presented, or will present, with a symptomatic

      hernia to prison staff, and under Rule 23(b)(3) (seeking damages as well as declaratory

      and injunctive relief) as all past and current prisoners in IDOC custody (through the date

      of a settlement or judgment) who have presented with a symptomatic hernia to prison

      staff. One key to resolving this dispute will be to obtain unbiased, objective expert

      medical testimony defining the term “symptomatic hernia”.

      B. An order certifying two sub-classes: The Pre-Surgical Sub-Class, consisting of all

      class members who have a symptomatic abdominal wall hernia but who have been denied

      or unreasonably delayed in receiving a referral for a surgical consult and/or receiving

      recommended corrective surgery, and the Post-Surgical Sub-Class, consisting of all class

      members who previously suffered a symptomatic abdominal wall hernia and who

      suffered an unreasonable delay in obtaining corrective surgery, resulting in prolonged

      pain, suffering, limitation of daily activities, a worsening of their condition, the need for

      more extensive surgery, and/or other adverse effects causally related to the delay.

      C. A judgment declaring that the Defendants have exhibited deliberate

      indifference to the serious medical needs of Plaintiffs and the Plaintiff Class and have

      violated Plaintiffs’ and the Plaintiff Class’s right to be free from Cruel and Unusual

      Punishment, as secured by the Eighth and Fourteenth Amendments to the Constitution;




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D. A preliminary and permanent injunction requiring Defendants to provide inmates who

have an abdominal hernia with an independent surgical consultation with a qualified

surgical specialist to determine whether the surgical specialists holds the opinion the

inmate warrants surgical repair of the hernia. In cases where the independent surgical

specialist holds the opinion surgical repair is warranted, the defendants should be

required to immediately provide hernia surgery to all IDOC prisoners who have been

recommended for surgery; and, for those prisoners with hernias but who have not seen a

surgeon, to immediately send all such prisoners to an independent surgical specialist for a

surgical consultation, and to abide by the surgeon’s recommendation;

E. A preliminary and permanent injunction requiring any physician who participates in

Wexford’s Collegial Review process concerning the medical care of Illinois inmates must

be licensed to practice medicine in the State of Illinois and subject to the jurisdiction of

the Illinois Medical Licensing Board.

F. A judicial declaration that Illinois’ doctrine known as the prohibition against the

corporate practice of medicine prohibits entities such as Wexford from employing

physicians, as set forth by the Illinois Supreme Court in Berlin v. Sarah Bush Lincoln

Health Center, 179 Ill. 2d 1, 688 N.E.2d 106 (1997), until such time as lawmakers

specifically adopt an exception applicable to IDOC prison care.

G. An award of compensatory and punitive damages against Defendant Wexford, and

nominal damages against Defendants Baldwin and Meeks;

H. An award of Plaintiffs’ attorneys’ fees, expenses and costs of suit; and

I. Such other relief as the Court may deem equitable and just under the circumstances.




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                                          Jury Demand

       Plaintiffs demand trial by jury on all issues which are triable by a jury.


Respectfully submitted this _______ day of July, 2018,


                                              By: s/THOMAS J. PLIURA____________
                                                  Thomas J. Pliura, M.D., J.D.,
                                                  Lead Attorney for Plaintiffs




Thomas J. Pliura,
Attorney for Plaintiffs
Law Offices of Thomas J. Pliura, M.D., J.D., P.C.
P.O. Box 130
LeRoy, IL 61752
Telephone: (309)962-2299
Fax: (309)962-4646
tom.pliura@zchart.com



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